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                             EXHIBIT F
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    From:              Pastula, Julianne (MICRC)
    To:                Badelson1; McKnight, Katherine L.; Nate Fink; dfink@finkbressack.com
    Subject:           P&C: Information for Discussion
    Date:              Friday, December 10, 2021 6:12:00 PM
    Attachments:       Plan comparison Minority Districts.xlsx
                       Plan Comparisons Partisan Fairness.xlsx


    Dear Legal Team,

    I acknowledge the focus this weekend is on our response due Monday and the attendant
    preparation for the hearing. I did want to circulate the information from the Teams meeting and we
    can address/more fully discuss when appropriate including how to present this information to our
    client prior to their vote. As indicated during the call, the percentage ranges provided by Dr.
    Handley in her September presentation/charts and utilized during drafting did not correspond to the
    information shared today. The lack of primary election data generally as well as promised
    information regarding whether the white candidates are candidates of choice as well as data re:
    white voter preferences (req. at end of Oct on death threat day) are relevant. Also potentially
    relevant is the increase in Latino/Asian population in Detroit while Black population decreased and
    whether maintaining the number of minority opportunity districts raises predominance issues. I will
    certainly defer to the expertise of Bruce as VRA counsel and Kate’s team on these issues but I do not
    see where there is a clearly identifiable Sec. 2 violation.

    Sincerely,

    Julianne Pastula
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    State of Michigan
    Independent Citizens Redistricting Commission
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    PastulaJ1@Michigan.gov
